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                       UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

Brianna Boe, et al.,                       )
                                           )
       Plaintiffs,                         )
                                           )
and                                        )
                                           )
United States of America,                  )
                                           )
       Plaintiff-Intervenor,               )
                                           )
v.                                         ) No. 2:22-cv-00184-LCB-CWB
                                           )
Hon. Steve Marshall, in his official       )
capacity as Attorney General of the        )
State of Alabama, et al.,                  )
                                           )
       Defendants.                         )

             PRIVATE PLAINTIFFS’ JOINDER IN
   PLAINTIFF-INTERVENOR UNITED STATES OF AMERICA’S
RENEWED MOTION TO STAY ALL DISTRICT COURT PROCEEDINGS

       Plaintiffs Brianna Boe, individually and on behalf of her minor son, Michael

Boe; Megan Poe, individually and on behalf of her minor daughter, Allison Poe;

Rebecca Roe, individually and on behalf of her minor daughter, Melissa Roe; Robert

Moe, individually and on behalf of his minor daughter, April Moe; and Heather

Austin, Ph.D (“Private Plaintiffs”) join in and adopt the arguments, citations to the

record, citations to authority, and requests for relief by Plaintiff-Intervenor United

States of America in its Renewed Motion to Stay All District Court Proceedings



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(Doc. 604). For the reasons stated therein, Private Plaintiffs respectfully request that

the Court stay all proceedings and deadlines in this matter until the Supreme Court

rules on the appropriate standard of review.1

    Respectfully submitted this 25th day of June, 2024.


    /s/ Adam Reinke
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    Amie A. Vague                                             Cynthia Weaver
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1
 Like the United States, Private Plaintiffs do not seek to stay the proceedings or any deadlines related to the ongoing
ethics inquiry.


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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 25th day of June, 2024, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to counsel of record in this case.



                                               /s/ Adam Reinke
                                               Counsel for Private Plaintiffs




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